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 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
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12
     CENTER FOR IMMIGRATION                  Case No. ______________________
13   LAW & POLICY,
                                             COMPLAINT FOR
14                  Plaintiff,               DECLARATORY AND
                                             INJUNCTIVE RELIEF
15   v.
16   UNITED STATES IMMIGRATION
     AND CUSTOMS
17   ENFORCEMENT,
18                  Defendant.
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 1   I.          INTRODUCTION
 2               1.   Plaintiff Center for Immigration Law & Policy brings this action
 3   pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, and seeks
 4   disclosure of records held by the United States Immigration and Customs
 5   Enforcement agency (“ICE”), a branch of the Department of Homeland Security
 6   (“DHS”). Plaintiff seeks to enforce the public’s right to information regarding
 7   Defendant’s immigration actions, including removals, detentions, and
 8   apprehensions. See Request Under Freedom of Information Act (Expedited
 9   Processing & Fee Waiver/Limitation Requested) (the “FOIA Request”), a true and
10   correct copy of the FOIA Request is annexed hereto as Exhibit A.
11               2.   Nearly every category of information that Plaintiff seeks has been
12   released by ICE in the past. Indeed, the Second Circuit Court of Appeals recently
13   required ICE to release several categories of the requested data and to link those
14   categories by producing anonymized unique identifiers that correspond to an
15   individual’s Alien File Number. See ACLU v. ICE, 58 F.4th 643 (2d Cir. 2023).
16               3.   This lawsuit is necessary not because Plaintiff seeks novel
17   information, but because ICE has not responded to Plaintiff’s request, filed nearly
18   six months ago.
19               4.   The information sought is of significant value to the public. Plaintiff
20   seeks information about ICE encounters, arrests, detainers, detentions (and
21   alternatives to detention), and removals. Id. This data is essential for Plaintiff and
22   the public to understand and track rapidly changing immigration enforcement
23   policy.
24               5.   ICE’s failure to respond to Plaintiff’s FOIA Request and release the
25   requested records violates the FOIA and impedes Plaintiff’s efforts to educate the
26   public regarding how ICE enforces federal immigration laws and to determine
27   whether ICE’s current practices comply with applicable laws, regulations, and
28   constitutional requirements. Although ICE has released almost all of these

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 1   categories of information in the past, it does not do so regularly, and there is
 2   therefore no comparable up-to-date source of information or analysis of
 3   enforcement and immigration detainee data available to the public. Instead, ICE
 4   publicly releases only extremely limited aggregate statistics, meaning that the
 5   public lacks the most basic information about ICE’s enforcement, including—to list
 6   only three examples—any information about transfers between detention centers,
 7   about the likelihood that an arrest will result in continued detention, and about the
 8   likelihood that detention will result in deportation.
 9               6.   The requested information—anonymized data at the individual level—
10   would allow researchers, journalists, and advocates to track the enforcement steps
11   that ICE takes in each case. This information would increase the public’s
12   understanding about how ICE is identifying immigrants for detention and removal;
13   how it is treating immigration detainees; and how the public’s tax dollars are being
14   spent with respect to such immigration matters. Thus, the requested information
15   will significantly contribute to the public’s understanding of government operations
16   and activities.
17   II.         JURISDICTION AND VENUE
18               7.   This Court has subject matter jurisdiction over this action pursuant to 5
19   U.S.C. § 552(a)(4)(B), 28 U.S.C. § 1331, and 28 U.S.C § 1346.
20               8.   Venue in this district is proper under 5 U.S.C. § 552(a)(4)(B) and 28
21   U.S.C. § 1391 because Plaintiff has its principal place of business in this District in
22   Los Angeles, California.
23   III.        THE PARTIES
24               9.   Plaintiff Center for Immigration Law & Policy (“CILP”) is at the
25   University of California, Los Angeles School of Law. It is an immigration law and
26   policy research center that serves as a hub for immigration scholarship and
27   advocacy, engaging students and faculty, community organizations, practitioners,
28   lawmakers, and experts in the field.

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 1               10.   Defendant United States Immigration and Customs Enforcement
 2   agency (“ICE”) is a branch of the Department of Homeland Security (“DHS”), a
 3   federal executive department.
 4   IV.         THE FOIA REQUEST
 5               11.   On May 31, 2024, Plaintiff submitted the FOIA Request at issue,
 6   seeking eight categories of data ICE is known to maintain, from Fiscal Year 2012
 7   to the date that ICE produces the data, concerning: (1) removals; (2) “Secure
 8   Communities” removals (which are removals following a biometrics match); (3)
 9   detentions; (4) arrests and apprehensions; (5) encounters; (6) alternatives to
10   detention; (7) detainers; and (8) orders of supervision.
11               12.   The Request noted that ICE is required to link each of these categories
12   of data with the others by producing an anonymized unique identifier that
13   corresponds to each individual’s Alien File Number. See ACLU v. ICE, 58 F.4th
14   643 (2d Cir. 2023).
15               13.   Nearly all of these categories of data have been released in the past. In
16   particular, the Request noted that several of these categories of data were recently
17   released in response to request 2023-ICFO-42034.
18               14.   However, the request also noted an important category that ICE has
19   not released in the past: the “idncase” number that allows ICE data to be matched
20   anonymously with data that the Executive Office for Immigration Review
21   (“EOIR”), which houses the immigration courts, releases monthly. See EOIR
22   CASE Data, available at justice.gov/eoir/foia-library-0. This anonymous identifier
23   will allow journalists, advocates, and researchers to track the immigration court
24   outcomes associated with each ICE enforcement action.
25               15.   The FOIA Request included a request for expedited processing
26   pursuant to 5 U.S.C. § 552(a)(6)(E). See also 6 C.F.R. § 5.5(e)(1). The request
27   explained that there is a “compelling need” for these records because the
28   information requested is “urgen[tly]” needed by an organization primarily engaged

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 1   in disseminating information “to inform the public concerning actual or alleged
 2   Federal Government activity.” 5 U.S.C. § 552(a)(6)(E)(v)(II).
 3               16.   With respect to the first part of the expedited processing standard, the
 4   request explained that these records are urgently needed to inform the public about
 5   actual or alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II); 6 C.F.R. §
 6   5.5(e)(1)(ii). The requested records seek to inform the public about the
 7   government’s current enforcement policies and practices, which change frequently.
 8   In just one example, the government recently expanded use of alternatives to
 9   detention, and little is known about their impact on removals and immigration court
10   proceedings. See, e.g., TRAC, “ICE Increases Use of GPS Monitoring for
11   Immigrants in Alternatives to Detention (ATD),” Mar. 14, 2024, available at
12   https://trac.syr.edu/whatsnew/email.240315.html; Gaby Del Valle, “ICE is
13   Subjecting a Record Number of Asylum Seekers to Electronic Monitoring,” THE
14   NATION, Oct. 18, 2022, available at
15   https://www.thenation.com/article/society/migrants-ice-alternatives-detention/.
16               17.   With respect to the second requirement for expedited processing, the
17   request explained that the Plaintiff is “primarily engaged in disseminating
18   information” within the meaning of the FOIA. 5 U.S.C. § 552(a)(6)(E)(v)(II). See
19   also 6 C.F.R. § 5.5(e)(1)(ii). CILP is a hub for immigration scholarship and
20   advocacy, engaging students and faculty, community organizations, practitioners,
21   lawmakers, and experts in the field. CILP regularly publishes reports that collect,
22   analyze and disseminate information about government activity, including drawing
23   on information released by the government through FOIA requests. See, e.g., The
24   Biden Administration’s Dedicated Docket: Inside Los Angeles’ Accelerated Court
25   Hearings for Families Seeking Asylum (May 2022), available at
26   https://law.ucla.edu/sites/default/files/PDFs/Center_for_Immigration_Law_and_Pol
27   icy/Dedi cated_Docket_in_LA_Report_FINAL_05.22.pdf; No Fair Day: The Biden
28   Administration’s Treatment of Children in Immigration Court (December 2023),

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 1   available at
 2   https://law.ucla.edu/sites/default/files/PDFs/Center_for_Immigration_Law_and_Pol
 3   icy/No_ Fair_Day_Children_in_Immigration_Court_White_Paper.pdf.
 4               18.   CILP educates the public through these reports, including by issuing
 5   press releases, and its attorneys are frequently interviewed for news stories that
 6   draw on this information. See, e.g., CILP Press Release, “No Fair Day: Damning
 7   New Report Reveals the Biden Administration’s Unlawful Treatment of Children in
 8   Immigration Courts,” Dec. 13, 2023, available at https://law.ucla.edu/news/no-fair-
 9   day-damning-new-report-reveals-biden- administrations-unlawful-treatment-
10   children-immigration-courts; CILP Press Release, “Gross Miscarriages of Justice
11   Continue Two Years into Biden Administration’s Fast-Track Court Program for
12   Families Seeking Asylum,” June 22, 2023, available at
13   https://law.ucla.edu/news/gross-miscarriages-justice-continue-two-years-biden-
14   administrations-fast-track-court-program-families-seeking-asylum; CILP Press
15   Release, “New Evidence of Horrific Treatment of Pregnant People in CBP Custody
16   Reignites Demand for Change,” Apr. 25, 2023, available at
17   https://law.ucla.edu/news/new-evidence- horrific-treatment-pregnant-people-cbp-
18   custody-reignites-demands-change. CILP’s publications are broadly circulated to
19   the public and widely available to the public at no cost.
20               19.   CILP also regularly hosts public events intended to educate the public
21   and foster discussion about U.S. immigration law and policy. See
22   https://law.ucla.edu/academics/centers/center-immigration-law-and-policy/cilp-
23   events (listing public events held in 2021, 2022, 2023, and 2024). Those public
24   events include conversations with high-level government officials, which draw on
25   information released by the government through FOIA requests.
26               20.   CILP further explained that it intends to analyze, publish, and
27   disseminate to the public information gathered through this Request.
28               21.   Given the foregoing, CILP satisfied the requirements for expedited

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 1   processing of this request.
 2               22.   In addition, CILP sought a full fee waiver because disclosure of the
 3   requested records is in the public interest and is “likely to contribute significantly to
 4   public understanding of operations or activities of the government and is not
 5   primarily in the commercial interest of the requestor.” 5 U.S.C. § 522(a)(4)(A)(iii).
 6               23.   The Request explained that a fee waiver is required because disclosure
 7   of the documents sought is in the public interest and will contribute significantly to
 8   the public’s understanding of ICE’s enforcement practices. The Request explained
 9   that the records are not sought for commercial use, and CILP plans to disseminate
10   the information to the public at no cost. CILP is therefore entitled to a full fee
11   waiver under 5 U.S.C. § 522(a)(4)(A)(iii).
12   V.          ICE’S LACK OF RESPONSE
13               24.   ICE acknowledged the Request on June 10, 2024 and assigned it
14   reference number 2024-ICFO-39357. The acknowledgment is attached as Exhibit
15   B. The acknowledgment invoked the ten-day extension provision of 5 U.S.C.
16   § 552(a)(6)(B).
17               25.   The acknowledgment did not mention or respond to CILP’s requests
18   for expedited processing and a fee waiver. See Ex. B.
19               26.   CILP has received no further response or communication from ICE.
20   VI.         CLAIMS FOR RELIEF
21                                 FIRST CLAIM FOR RELIEF
22
                  Violation of Freedom of Information Act, 5 U.S.C. § 552, and 6
23                C.F.R. § 5.6(c) Promulgated Thereunder, for Failure to Timely
                               Disclose Responsive Agency Records
24
25               27.   Defendant’s unlawful withholding of documents responsive to
26   Plaintiff's FOIA Request violates 5 U.S.C. § 552(a)(3)(A) and 5 U.S.C.
27   § 552(a)(6)(A), as well as 6 C.F.R. § 5.6(c), promulgated thereunder.
28               28.   Defendant is obligated under 5 U.S.C. § 552(a)(3) to produce records

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 1   responsive to Plaintiff's FOIA Request.
 2               29.     Defendant was required to respond to Plaintiff’s FOIA Request within
 3   20 business days under 5 U.S.C. § 552(a)(6)(A) and 6 C.F.R. § 5.6(c), promulgated
 4   thereunder. Even assuming that Defendant correctly invoked the ten-day extension
 5   provision of 5 U.S.C. § 552(a)(6)(B), Defendant was required to respond within 30
 6   business days, which expired on July 16, 2024.
 7               30.     No basis exists for Defendant’s failure to provide a response to
 8   Plaintiff's request. Plaintiff has exhausted its administrative remedies by virtue of
 9   Defendant’s failure to respond to the FOIA Request.
10                                  SECOND CLAIM FOR RELIEF
11
                       Violation of Freedom of Information Act, 5 U.S.C. § 552, for
12                      Failure to Timely Conduct an Adequate Search of Agency
                                                Records
13
14               31.     Defendant has failed to produce or reproduce any responsive records.
15               32.     ICE is obligated under 5 U.S.C. § 552(a)(3)(C) to conduct a reasonable
16   search for and to produce records responsive to Plaintiff’s FOIA Request. Plaintiff
17   has a legal right to obtain such records, and no legal basis exists for ICE’s failure to
18   conduct a reasonable search for records through the present date.
19               33.     Defendant’s failure to conduct a reasonable search for records
20   responsive to Plaintiff's FOIA Request violates 5 U.S.C. §§ 552(a)(3)(C) and
21   (a)(6)(A), as well as 6 C.F.R. § 5.6(c), promulgated thereunder.
22                                   THIRD CLAIM FOR RELIEF
23     Violation of the Administrative Procedure Act, 5 U.S.C. §§ 706(1) & (2), for
24            Failure to Timely Respond to the Request for Agency Records

25               34.     Defendant’s failure to timely respond to Plaintiff's FOIA Request for
26   agency records constitutes agency action unlawfully withheld and unreasonably
27   delayed in violation of the Administrative Procedure Act, 5 U.S.C. § 706(1).
28               35.     Additionally, Defendant’s failure to timely respond is arbitrary,

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 1   capricious, an abuse of discretion, and not in accordance with law in violation of
 2   the Administrative Procedure Act, 5 U.S.C. § 706(2).
 3   VII. PRAYER FOR RELIEF
 4               WHEREFORE, Plaintiff requests that judgment be entered in its favor and
 5   against Defendant and that the Court:
 6               (a)   Declare unlawful Defendant’s refusal to disclose the records
 7   requested;
 8               (b)   Declare that Defendant’s failure to make a determination with respect
 9   to Plaintiff’s FOIA Request (including its expedited processing and fee waiver
10   requests) within the statutory time limit and Defendant’s failure to disclose
11   responsive records violates the FOIA;
12               (c)   Declare that Defendant’s failure to timely respond to Plaintiff’s request
13   for agency records violates the Administrative Procedure Act;
14               (d)   Compel Defendant and any of Defendant’s departments, components,
15   other organizational structures, agents, or other persons acting by, through, for, or
16   on behalf of Defendant to conduct a full, adequate, and expeditious search for
17   records responsive to Plaintiff’s FOIA Request and to produce any and all such
18   records to Plaintiff;
19               (d)   Enjoin Defendant, and any of its departments, components, other
20   organizational structures, agents, or other persons acting by, through, for or on
21   behalf of Defendant from withholding non-exempt records responsive to Plaintiff’s
22   FOIA Request and order them to promptly produce the same without redaction;
23               (e)   Award Plaintiff its reasonable attorney fees and costs pursuant to
24   5 U.S.C. § 552(a)(4)(E)(i); and
25               (f)   Grant any such other or further relief as the Court deems just and
26   equitable.
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  1   Dated: December 4, 2024         Respectfully submitted,
  2
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  3
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